21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 1 of
                                        32


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

                                                     §
 In re:                                              §        Chapter 11
                                                     §
 LOADCRAFT INDUSTRIES, LTD.                          §        Case No. 21-11018-TMD
                                                     §
                              Debtor                 §

          SECOND STIPULATION BETWEEN LOADCRAFT INDUSTRIES, LTD., AND
                           WINDOW OPERATING, LTD.

 TO THE HONORABLE TONY M. DAVIS, UNITED STATES BANKRUPTCY JUDGE:

            Loadcraft Industries, Ltd. (the “Debtor”) and Window Operating, Ltd. (“Window”) enter

  this Second Stipulation, as follows:

           1.       The Debtor and Window entered that certain “Sale and Leaseback Agreement”

 (the “Agreement”) dated effective May 1, 2021, a copy of which is attached as Exhibit A. The

 Agreement generally provides for the sale of certain real and property by the Debtor to Window

 and lease-back of such property to the Debtor.

           2.       In connection with the Agreement, the Debtor and Window also entered a “Lease

 Agreement” dated as of July 1, 2021, a true and correct copy of which is attached hereto as

 Exhibit B.

           3.       Window and the Debtor also entered a “Warranty Bill of Sale” dated July 8, 2021,

 a true and correct copy of which is attached hereto as Exhibit C.

           4.       The Lease Agreement contains a “Lessee’s Repurchase Option” in paragraph 18.

 The Repurchase Option (as defined therein) pursuant to this provision could be exercised by the

 Debtor on or before December 31, 2021.

           5.       The Debtor filed this bankruptcy proceeding on December 30, 2021 (the “Petition

 Date”). The Debtor contends that the Repurchase Option period was extended pursuant to 11

 U.S.C. §108 to the date which is sixty (60) days from the Petition Date.
 4864-3422-9272.1
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 2 of
                                        32


          6.        The Debtor and Window previously agreed that the deadline, if applicable, for the

 Debtor to exercise the Repurchase Option is and shall be extended through and including March

 27, 2022. The Debtor and Window hereby agree to extend that date through and including April

 1, 2022.      This extension is without prejudice to any contention by Window that §108 is

 inapplicable to the Repurchase Option and that the Repurchase Option has expired, nor to any

 claims by the Debtor regarding, or relating to the Lease Agreement, Warranty Bill of Sale, or Sale

 and Leaseback Agreement, nor to the Debtor’s rights, if any, to seek further extensions of the time

 period to exercise the Repurchase Option.

                                                 Respectfully submitted,

                                                 WALLER LANSDEN DORTCH & DAVIS, LLP

                                                 By: /s/ Mark C. Taylor
                                                         Eric Taube
                                                         State Bar No. 19679350
                                                         Mark Taylor
                                                         State Bar No. 19713225
                                                         William R. “Trip” Nix, III
                                                         State Bar No. 24092902
                                                 100 Congress Avenue, Suite 1800
                                                 Austin, Texas 78701
                                                 (512) 685-6400
                                                 (512) 685-6417 (FAX)
                                                 Email: Eric.Taube@wallerlaw.com
                                                         Mark.Taylor@wallerlaw.com
                                                         Trip.Nix@wallerlaw.com

                                                 Attorneys for the Debtor and
                                                 Debtors in Possession




 4864-3422-9272.1
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 3 of
                                        32


                                             BARRON & NEWBURGER, P.C.


                                             By: /s/ Stephen W. Sather
                                                     Stephen W. Sather
                                                     State Bar No. 17657520
                                             7320 N. Mopac Expressway, Suite 400
                                             Austin, Texas 78731
                                             Telephone: (512) 476-9103
                                             Email: ssather@bn-lawyers.com

                                             Attorneys for Window Operating, Ltd.


                                 CERTIFICATE OF SERVICE

       The foregoing was served on all persons on the attached list electronically via the Court’s
 ECF system or via first class mail on March 23, 2022.


                                             /s/ Mark C. Taylor
                                             Mark C. Taylor




 4864-3422-9272.1
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 4 of
                                        32



                                    LIMITED SERVICE LIST

  Debtor                            Intsel Steel/Triple-S Steel
  Loadcraft Industries, LP          P.O. Box 301212                   United Engines
  3811 N. Bridge St.                Dallas, TX 75303-1212             P.O. Box 731594
  Brady, TX 76825                                                     Dallas, TX 75373-1594
                                    McCulloch County Appraisal
  Government Entities               District                          Willbanks Metals Inc.
  (not otherwise listed)            306 W. Lockhart                   1155 N.E. 28th Street
  United States Trustee (via ECF)   Brady, TX 76825                   Fort Worth, TX 76106
  Attn: Shane Tobin
  903 San Jacinto, Room 230         Metals USA                        Parties Requesting Service
  Austin, TX 78701                  101 E Illinois Ave                Robert B. Wagstaff (via ECF)
                                    Enid, OK 73701                    McMahon Surovik Suttle P.C.
  Brown County Appraisal District                                     P.O. Box 3679
  403 Fisk Avenue                   Polyglass Coating                 Abilene, Texas 79604
  Brownwood, TX 76801               1616 N. Main Street
                                    Pearland, TX 77581                Katherine J. Walters
  Secured Creditors                                                   Sheldon E. Richie (via ECF)
  Alphonso Energy LLC               Single Source Inc                 Richie & Gueringer, P.C.
  1211 Challenger                   8141 Gateway Dr                   100 Congress Ave., Suite 1750
  Lakeway, TX 78734                 Suite 210                         Austin, TX 78701
                                    Argyle, TX 76226-5736
  20 Largest Unsecured Creditors                                      Texas Workforce Commission
  American Block Mfg Co Inc         Stewart & Stevenson Power         c/o Callan C. Searcy (via ECF)
  P.O. Box 301442                   P.O. Box 301063                   Assistant Attorney General
  Dallas, TX 75303                  Dallas, TX 75303-1063             Bankruptcy & Collections Division
                                                                      MC 008
  American Express                  T&W Tire                          P.O. Box 12548
  P.O. Box 650448                   P.O. Box 258859                   Austin, TX 78711-2548
  Dallas, TX 75265-0448             Oklahoma City, OK 73125-8859
                                                                      Tara LeDay (via ECF)
  Dell Financial Services           Texas Comptroller of Public       McCreary, Veselka, Bragg & Allen
  Dell Financial Services           Accounts                          P.O. Box 1269
  Payment Processing Center         Revenue Accounting Div.-          Round Rock, TX 78680
  Carol Stream, IL 60197-6547       Bankruptcy Sec.
                                    P.O. Box 13528 Capitol Station    Stephen W. Sather (via ECF)
  Donald E. Harman Co. Inc.         Austin, TX 78711                  Gregory M. Friedman (via ECF)
  421 Industrial Dr.                                                  BARRON & NEWBURGER, P.C.
  Richardson, TX 75081              Texas Workforce Commission        7320 N. MoPac, Suite 400
                                    TWC Building-Regulatory           Austin, TX 78731
  Fox NDE, LLC.                     Integrity Div
  P.O. Box 5088                     101 E. 15th St.                   Stephen A. Roberts (via ECF)
  Abilene, TX 79608                 Austin, TX 78778                  Stephen Roberts, P.C.
                                                                      1400 Marshall Ln
  Health Care Service Corp.         Toyota Financial Services         Austin, TX 78703
  P.O. Box 731428                   P.O. Box 2431
  Dallas, TX 75373-1428             Carol Stream, IL 60132

  Internal Revenue Service          U.S. Department of Labor - Wage
  PO Box 7346                       and Hour
  Philadelphia, PA 19101-7346       Southwest Regional Office
                                    Federal Building
                                    525 S. Griffin St., Ste. 800
                                    Dallas, TX 75202



  040872-18219/4858-8735-6680.1
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 5 of
                                        32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 6 of
                                        32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 7 of
                                        32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 8 of
                                        32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 9 of
                                        32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 10
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 11
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 12
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 13
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 14
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 15
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 16
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 17
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 18
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 19
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 20
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 21
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 22
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 23
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 24
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 25
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 26
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 27
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 28
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 29
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 30
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 31
                                      of 32
21-11018-tmd Doc#106 Filed 03/23/22 Entered 03/23/22 10:40:20 Main Document Pg 32
                                      of 32
